
26 N.Y.2d 1002 (1970)
B. L. W. Realty Holding Co., Inc., Appellant-Respondent,
v.
Socony Mobil Oil Company, Inc., Respondent, and Sixty East 88th Street Corp., Respondent-Appellant.
Court of Appeals of the State of New York.
Argued April 8, 1970.
Decided April 23, 1970.
Roy M. Lazarus and Joseph Karow for appellant-respondent.
Charles F. McMorrow for respondent-appellant.
Herbert C. Smyth for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed, with costs to respondent Socony Mobil Oil Company, Inc. *1005
APPEAL by defendant Sixty East 88th Street Holding Corp., from so much of the Appellate Division order as directed judgment in favor of plaintiff against said defendant and directed an assessment of damages, dismissed upon the ground that the order in that respect does not finally determine the action within the meaning of the Constitution. No opinion.
